

Matter of Gakai L. (Tia K.) (2021 NY Slip Op 02933)





Matter of Gakai L. (Tia K.)


2021 NY Slip Op 02933


Decided on May 7, 2021


Appellate Division, Fourth Department



Published by New York State Law Reporting Bureau pursuant to Judiciary Law § 431.


This opinion is uncorrected and subject to revision before publication in the Official Reports.



Decided on May 7, 2021
SUPREME COURT OF THE STATE OF NEW YORK
Appellate Division, Fourth Judicial Department

PRESENT: CARNI, J.P., LINDLEY, NEMOYER, CURRAN, AND BANNISTER, JJ.


420 CAF 20-00358

[*1]IN THE MATTER OF GAKAI L. AND GREGGORY L. STEUBEN COUNTY DEPARTMENT OF SOCIAL SERVICES, PETITIONER-RESPONDENT; TIA K., RESPONDENT-APPELLANT, AND GREGGORY L., RESPONDENT. (APPEAL NO. 2.)






PAUL B. WATKINS, FAIRPORT, FOR RESPONDENT-APPELLANT.
DONALD S. THOMSON, BATH, FOR PETITIONER-RESPONDENT.
MARY HOPE BENEDICT, BATH, ATTORNEY FOR THE CHILDREN. 


	Appeal from an order of the Family Court, Steuben County (Philip J. Roche, J.), entered January 3, 2020 in a proceeding pursuant to Family Court Act article 10. The order denied the motion of respondent Tia K. to vacate a prior order finding that she had neglected the subject children. 
It is hereby ORDERED that the order so appealed from is unanimously affirmed without costs.
Same memorandum as in Matter of DeAngelo B.-K. (Tia K.) ([appeal No. 1] — AD3d — [May 7, 2021] [4th Dept 2021]).
Entered: May 7, 2021
Mark W. Bennett
Clerk of the Court








